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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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DIMITRI ENTERPRISES, iINC.,
Vv. ; 20 Cv. 7966 (JSR)
NIF SERVICES OF NEW JERSEY, INC. and
SCOTTSDALE INSURANCE COMPANY,
ORDER
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JED S. RAKOFF, U.S.D.J.

Before the Court is a motion of plaintiff Dimitri
Enterprises, Inc. “for an order permitting joinder of an additional
defendant, Spar Insurance Agency, LLC, pursuant to Rule 15 of the
Federal Rules of Civil Procedure, and granting such other and
further relief as the Court deems just and proper.” Dkt. No. 26.1
The proposed amended complaint, which is included in plaintiff's
moving papers, brings two additional causes of action against Spar
Insurance Agency, LLC. See Dkt. No. 26-1 at 12. Defendant

Scottsdale Insurance Company, the sole remaining defendant in this

 

1 Although styled as a motion for joinder under Rule 15, a
motion to amend a complaint to add a party is governed by Rule 21
of the Federal Rules of Civil Procedure. See, ¢€.9., Sanders Vv.

 

Houslanger and Associates, PLLC, No. Ty-cv-8985 (DC), 2018 WL
6444921, at *2 (S.D.N.¥. Sept. 6, 2018) (“To the extent a plaintiff
seeks to join a new party, the motion is governed by Federal Rule
of Civil Procedure 2?1.”). In any event, courts in this district
apply the same liberal standard to motions to amend pleadings under
Rule 21 as under Rule 15. See Sly Magazine, LLC Vv. Weider
Publications L.b.C., 241 F.R.D. 527, 532 (S.D.N.Y. 2007).

 

 

 

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action, represented to the Court in a telephonic conference held

on November 24, 2020 that it had no objections to plaintiff's

motion. Accordingly, plaintiff’s motion is granted.

The Clerk of the Court is directed to close docket entry 26.

 

SO ORDERED.
Dated: New York, NY wl D/H
CJ,
December /, 2020 JED S. aaxok, v.8.D.J.

 
